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 6   Attorney for Defendant
 7   KENNY B. LU
 8              IN THE UNITED STATES OF DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
12                                                     2:10-cr-00168 JAM
                                Plaintiff,
13                                                     STIPULATION AND ORDER
14                  v.                                 MODIFING CONDITIONS OF
                                                       PRETRIAL RELEASE
15   KENNY B. LU,
16                                                     Judge: Hon. Kendall J. Newman
                   Defendant.
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19          KENNY B. LU, by and through his counsel, DAVID D. FISCHER, the United
20   States Government, by and through its counsel, TODD D. LERAS, Assistant United
21   States Attorney, and TAIFA GASKINS, United States Pretrial Services Officer, hereby
22   agree to modify the defendant’s condtions of release as follows:
23          Special condition number four, “travel is restricted to the Eastern District of
24   California without the prior consent of pretrial services officer, shall be amended. Travel
25   will now be restricted to the Eastern and Northern Districts of California without the prior
26   consent of the pretrial services officer.
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 1          The primary reason for this modification is that the defendant’s girlfriend, co-
 2   defendant JULIA SAECHAO, has family that lives in the Oakland, California area and
 3   the original condition prevented the defendants from visiting his girlfriend’s family.
 4          Accordingly, all partis and Mr. Lu agree that Mr. Lu will also be able to travel to
 5   the Northern District of California without the prior consent from pretrial services.
 6   Dated: July 13, 2010
 7
 8                                                    Respectfully Submitted,
 9
10                                                    /s/David D. Fischer
                                                      ____________________________
11
                                                      DAVID D. FISCHER
12                                                    Attorney for Defendant
                                                      KENNY B. LU
13
14
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16                                                    BENJAMIN B. WAGNER
                                                      United States Attorney
17
18   DATE: July 13, 2010
                                                      /s/ David D. Fischer for
19                                                    _____________________________
20                                                    TODD D. LERAS
                                                      Assistant United States Attorney
21
22
23
24   Date: July 13, 2010                              /s/ David D. Fischer for
                                                      ______________________________
25                                                    TAIFA GASKINS
26                                                    United States Pretrial Services Officer

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 1
           SO ORDERED.
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 3   Dated: July 14, 2010
                                              /s/ Kendall J. Newman_______
 4                                            HON. KENDALL J. NEWMAN
 5                                            United States Magistrate Judge
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